Case 14-14488-JDW     Doc 25   Filed 05/01/15 Entered 05/01/15 13:02:09        Desc Main
                               Document Page 1 of 6


_________________________________________________________________________________

                                              SO ORDERED,



                                              Judge Jason D. Woodard
                                              United States Bankruptcy Judge


       The Order of the Court is set forth below. The case docket reflects the date entered.
________________________________________________________________________________
Case 14-14488-JDW   Doc 25   Filed 05/01/15 Entered 05/01/15 13:02:09   Desc Main
                             Document Page 2 of 6
Case 14-14488-JDW   Doc 25   Filed 05/01/15 Entered 05/01/15 13:02:09   Desc Main
                             Document Page 3 of 6
Case 14-14488-JDW   Doc 25   Filed 05/01/15 Entered 05/01/15 13:02:09   Desc Main
                             Document Page 4 of 6
Case 14-14488-JDW   Doc 25   Filed 05/01/15 Entered 05/01/15 13:02:09   Desc Main
                             Document Page 5 of 6
Case 14-14488-JDW   Doc 25   Filed 05/01/15 Entered 05/01/15 13:02:09   Desc Main
                             Document Page 6 of 6
